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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GIANNI VERSACE, S.P.A.,
                                                      Case No. 18-cv-06412
                      Plaintiff,
                                                      Judge Edmond E. Chang
       v.
                                                      Magistrate Judge Maria Valdez
ZHAO DEQUN, et al.,

                      Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on November 20, 2018 [47], in

favor of Plaintiff Gianni Versace, S.p.A. (“Plaintiff” or “Versace”) and against the Defendants

Identified in Schedule A in the amount of one hundred and fifty thousand dollars ($150,000) per

Defaulting Defendant for willful use of counterfeit Versace Trademarks in connection with the

offer for sale and/or sale of products through at least the Defendant Internet Stores, and Versace

acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely satisfy the same as to the following

Defendants:

              Defendant Name                                         Line No.
                    2.66499                                            391
                   4-85939                                             392
                  enyingsales                                          393
                   hk_9085                                             394
              lipenghuang1239                                          396
                qiongqiong123                                          401
                 whemyqong5                                            402




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       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.



Dated this 26th day of July 2019.            Respectfully submitted,


                                             /s/Allyson M. Martin_____
                                             Paul G. Juettner
                                             Justin R. Gaudio
                                             Allyson Martin
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